                                                                                                LAW OFFICE                                                       PAGE      02/02
         /26/2001             1506              2813796916




                                                                        FLOYD W. FREED.                             II1.


\   \\                                                                               ATTORNEY   AT   LAW
          OP COUNeEL
                                                                   9800   GVPRESSWOOD             D RIVE.    SUITE.    200
          Ro       ERr MORROW
                                                                           HOUSTON           TEXAS         77379
           JANET MORROW                                                                                                                    TELEPHONE.            281374-8886
          ATTORNEV9      AT   LAW                                                                                                                       PAX      281.379.6018




                January           26 2001

                Hon.          Troy    C. Bennett           Jr.


                Clerk

                Supreme Court Building
               201       W.       14b Street

               P.O.       Box 12308

               Capitol            Station

               Austin Texas 78711



               Attention.           Abel Acosta


                              RE           Oral     Argument      on January 31$1 2001                     No.     73708       In the Court of Criminal

                                           Appeals for the State of Texas                at Austin           Charles       Mamou    Jr.   vs.     The    State      of
                                           Texas



               Dear Sir



                       am writing to ask the Courts permission for Mrs.
                              I                                                                                     Janet    Morrow to present oral
               argument in my place in Mr. Mamous case on January 3                                                    1   am currently   in    trial   in   a

               capital        murder        trial   in   Harris County     The       State   of Texas         vs.      Bobby Moore        In the        185
               District           Court.     Mrs.        Morrow   is   familiar      with   the    issue     and I     am sure she will        provide       able

               representation               she has agreed        to   appear        the Court grants permission.                  Thank
                                                                                if
                                                                                                                                                you for your
               assistance           in this    matter.




                                    Free


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                                                                                                           COURT OF CRIMIN4.

               J   net   Morrow
                                                                                                                    JAN 2 6 2001


                                                                                                                   Bennett        Jr. Clerk
                                                                                                           Troy C.
                                                                                                                  3
                                                            FLOYD W. FREED                            III

                                                                      ATTORNEY    AT   LAW

OF COUNSEL                                               6630 GYPRESSWOOD         DRIVE.       SUITE        200
ROBERT       MORROW                                              HOUSTON.    TEXAS           77379
JANET       MORROW                                                                                                               TELEPHONE    281-374-8886

ATTORNEYS       AT   LAW
                                                                                                                                        FAX   281 -379-691   6




                                                                       January 2001




            Mr Troy Bennett                  Clerk

            Court of Criminal Appeals

            Supreme Court Building
            201 W.           14th   Street

            PO Box 12308
            Austin Tx 78711




            Re               CCA No 73708 Charles Mamou Jr.                           vs The     State of Texas               Trial Court

                            No800112



            Dear           Sir




            I   wish to present oral argument               in the   above   styled
                                                                                         and numbered case in Austin on

            Wednesday               January 31t 2001       at   9.00am regarding Point of Error One.



            A copy of this notice              is   being sent to the Assistant         District       Attorney at Harris         County
            Texas.




            Yours faithfully
                                                                                               FILED IN
                                                                                       OURT OF
                                                                                                     CRIMINA1
                                                                                                                      APPI

                                                                                             JAN 1          6
                                                                                                                2001

            Floyd                Freed III
                                                                                 Ir      C.
                                                                                               Bennett          Jr.
                                                                                                                      Clerk




            FWF/jme


            cc              Kelly Ann        Smith

                            Assistant   District     Attorney

                             1201 Franklin Street Suite 600

                            Houston Tx 77379
                                                           Y   -
                                                                       fig      ...


                                     CHARLEStA ROSETTHAL                                         JR.
                                                  D.IS   I2ICT ATTOi-i
                                               HARRIS CUUN                    T-ERAS




                                                    January 9 2001




Hon. Troy C. Bennett               Jr. Clerk

Court of Criminal Appeals

P 0 Box 12308         Capitol Station

Austin TX 78711



RE         CHARLES MAMOU JR. VS. THE STATE OF TEXAS
           CCA Case No. 73708
           Trial Court No.         800112


Dear Mr. Bennett


I   wish   to present       oral    argument      in the   above         styled         and numbered             case    in   Austin   on

Wednesday        January 31 2001            at.   900    aim.      I   will   be responding            to the        points of error as

designated by opposing              counsel.




A copy of this notice         is    being sent to the attorney of record for the appellant.



                                                                         Sincerely




                                                                         KEL               ANN SMITH
                                                                         Assistant          District Attorney

                                                                         Harris County               Texas

                                                                         713 755-5826

ps                                                                                  FILED INPPýAý
                                                                              ITT     ný CAIM1
                                                                        .ý

cc         Floyd W. Freed III                                                          AN 16       2001

           Attorney   at.   Law
           6630 Cypresswood Dr. Suite 200..                                                          ar       lerk
                                                                                        8anne
           Spring TX. 77379




                             1201    Franklin Street Suite 600 Houston                  Texas    77002-1923
